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IN THE UNITED STATES DISTRICT COURT Case No. 1:25-cv-00883
FOR THE DISTRICT OF COLUMBIA
x MOTION TO
AMERICAN OVERSIGHT, DECLARE
FORFEITURE OF
Plaintiff, JUDICIAL
-against- AUTHORITY UNDER
ARTICLE IT,
PETE HEGSETH, et al., SECTION 1
Defendants.
x

Jason Goodman, proposed Amicus Curiae and Constitutionally Empowered Pro Se
Litigant, respectfully moves this Court for an order declaring that Chief Judge James E.
Boasberg has forfeited his judicial authority under Article III, Section 1 of the United States
Constitution due to sustained and disqualifying bad behavior.

This motion relies on the accompanying memorandum of law, exhibits, and previously
submitted materials demonstrating procedural suppression, extrajudicial interference, and
improper coordination incompatible with “good Behaviour” required for Article II tenure.

This motion is not filed pursuant to the Federal Rules of Civil Procedure, but under the
self-executing constitutional principles embedded in Article III, and is necessary to preserve the
integrity of proceedings before this Court and protect the constitutional rights of all parties and

citizens. A proposed order is submitted herewith.

Dated: New York, New York May 5, 2025

an . Pp submitted

Phe Goodman
Pro Se Amicus Applicant
MAY =-G SMR | truth@crowdsourcethetruth.org
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347-380-6998

MOTION TO DECLARE FORFEITURE OF JUDICIAL AUTHORITY UNDER ARTICLE
II, SECTION 1

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IN THE UNITED STATES DISTRICT COURT Case No. 1:25-cv-00883
FOR THE DISTRICT OF COLUMBIA
x DECLARATION OF
AMERICAN OVERSIGHT, JASON GOODMAN
Plaintiff, ~
-against- meas ainsi
PETE HEGSETH, et al., } MAY ~9 225 |
Defendants. | {
x

1, Jason Goodman, declare under penalty of perjury under the laws of the United States of
America that the following is true and correct:

1. Iam the proposed Amicus Curiae and Constitutionally Empowered Pro Se Litigant in the
above-captioned matter. I submit this declaration in support of the Motion to Declare
Forfeiture of Judicial Authority Under Article III, Section 1.

2. On or about March 27, 2025, I personally hand-delivered to the Clerk’s Office at the U.S.
District Court for the District of Columbia a motion seeking leave to file an amicus brief,
along with the proposed brief. A clerk stamped the submission as “RECEIVED” and
returned a stamped copy to me.

3. After noticing that the documents were not appearing on the public docket, I contacted
the Clerk’s Office by phone to inquire about the status. During this call, a court clerk,
unprompted, informed me that the judge had instructed the office not to docket my filing.

4. On April 9, 2025, the Court granted a Rule 59(e) motion J had submitted, but the
associated motion for leave and proposed amicus brief remained absent from the docket

through and beyond the April 10, 2025 status conference.

DECLARATION OF JASON GOODMAN
Case 1:25-cv-00883-JEB Document 26

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5. I compelled docketing of the proposed brief on April 14, 2025. A public version of my

investigative report concerning alleged financial misconduct by Senator Adam Schiff was

released shortly thereafter, on April 19, 2025.

6. On April 21, 2025, Senator Schiff issued a press release calling for a federal investigation

into matters closely related to the subject of this litigation. Based on timing and context, |

believe this sequence of events reflects retaliatory coordination between legislative and

judicial actors.

7. The facts stated herein are based on my direct personal knowledge.

Executed on this 5" day of May, 2025

DECLARATION OF JASON GOODMAN

/] 4
AGr—

ff

- ¥
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

AMERICAN OVERSIGHT,
Plaintiff,
-against-
PETE HEGSETH, et al.,

Defendants.

Case No. 1:25-cv-00883

MEOMORANDUM IN SUPPORT OF MOTION TO DECLARE FORFEITURE OF JUDICIAL
AUTHORITY
UNDER ARTICLE II], SECTION 1 DUE TO BAD BEHAVIOR

Jason Goodman
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I.

Ill.

IV.

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IN THE UNITED STATES DISTRICT COURT Case No. 1:25-cv-00883
FOR THE DISTRICT OF COLUMBIA
-- xX MEMORANDUM IN
AMERICAN OVERSIGHT, SUPPORT OF
MOTION TO
Plaintiff, DECLARE
-against- FORFEITURE OF
JUDICIAL
PETE HEGSETH, et al., AUTHORITY UNDER
Defendants. ARTICLE IT,
x SECTION 1

I INTRODUCTION

Jason Goodman, proposed Amicus Curiae and Constitutionally Empowered Pro Se Litigant,
brings this motion pursuant to the United States Constitution and the inherent First Amendment
right to petition the courts. When constitutional violations occur—especially where the authority
of a presiding judge is in question under the 'good Behaviour' clause of Article III, ordinary
procedural rules must yield to direct constitutional invocation. Goodman respectfully moves this
Court, under the very same supreme authority that grants its judicial power, to recognize that
Judge James E. Boasberg has summarily forfeited his authority under Article III, Section 1, and
may no longer preside in this or any other case in any United States District Court for failure to
meet Article III constitutional requirements.

This motion does not arise from any procedural mechanism within the Federal Rules of Civil
Procedure; it derives instead from the explicit text of the Constitution itself. Goodman therefore
submits this motion not as a petition for discretionary relief, but as a constitutional imperative.
This motion does not seek recusal under 28 U.S.C. § 455, nor removal pursuant to 28 U.S.C. §

144. This motion does not invoke or require congressional impeachment as separately described

' Pulliam v. Allen, 466 U.S. 522, 541 (1984) (judicial immunity does not bar prospective injunctive or declaratory
relief against a judge acting unconstitutionally).

MEMORANDUM IN SUPPORT OF MOTION TO DECLARE FORFEITURE OF
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in Article IJ. Rather, it is grounded in the self-executing constitutional standard that judges hold
office only so long as they engage in “good Behaviour.”

I. STANDING

Movant respectfully asserts standing to bring this challenge pursuant to Article III of the
United States Constitution. The doctrine of standing requires:

(1) an injury in fact that is concrete and particularized;

(2) a causal connection between the injury and the conduct complained of; and

(3) a likelihood that the injury will be redressed by a favorable decision. Lujan v. Defenders

of Wildlife, 504 U.S. 555, 560-61 (1992).

Here, movant satisfies each element. First, the injury in fact is Judge Boasberg’s documented
unconstitutional suppression of speech and denial of access to the courts resulting from refusal to
docket and consider movant Goodman’s properly submitted amicus brief, which was hand-
delivered and receipt-stamped by the court’s own intake personnel. This rejection defied all
known procedural rules and constituted a viewpoint-based restriction on protected expressive
conduct, resulting in reputational harm, silencing of advocacy, and obstruction of the right to
petition the government for redress of grievances. It is well established that "[t]he loss of First
Amendment freedoms, for even minimal periods of time, unquestionably constitutes irreparable
injury." Elrod v. Burns, 427 U.S. 347, 373 (1976). Furthermore, the mere threat or possibility of
enforcement, retaliation, or suppression of speech may confer standing in First Amendment
contexts. Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158-61 (2014) (“A credible threat of
enforcement is sufficient to establish injury in fact under Article III.”). Similarly, in Meese v.
Keene, 481 U.S. 465 (1987), the Court held that reputational harm and the chilling of political

speech, even without prosecution, were sufficient to establish standing. Second, the injury is

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directly traceable to Judge Boasberg’s refusal to enter the submitted filing, which caused the
expressive injury.

Third, redressability is demonstrated by the Court’s own actions: the Rule 59(e) reversal and
eventual docketing of the brief confirm the prior suppression was unlawful and remediable. That
delayed correction does not erase the constitutional violation; rather, it proves that harm
occurred, and that judicial misconduct obstructed protected rights until pressed. This proves a
specific, individualized harm to a constitutionally protected activity, arising from judicial
misconduct and confirmed by judicial reversal. Accordingly, Movant has standing, and this Court
must reach the constitutional merits rather than evade them on procedural grounds.

II. JURISDICTION

This Court has subject matter jurisdiction over this constitutional challenge pursuant to 28
U.S.C. § 1331, which grants federal district courts original jurisdiction over “all civil actions
arising under the Constitution, laws, or treaties of the United States.” Movant’s claims arise
under the First Amendment to the United States Constitution, and specifically challenge
viewpoint-based suppression of speech and denial of access to the courts by a federal judge
acting under color of law. To the extent this Court deems the relief sought to be in the nature of a
writ of mandamus, jurisdiction is further proper under 28 U.S.C. § 1361, which authorizes
district courts to compel “an officer or employee of the United States or any agency thereof to
perform a duty owed to the plaintiff.” Federal judges, though members of the judicial branch, are
nonetheless “officers of the United States” subject to the limitations of the Constitution,
including those imposed by the First Amendment. While judicial officers enjoy immunity from
damages for acts performed in their judicial capacity, immunity does not extend to equitable or

declaratory relief, nor does it extinguish jurisdiction over constitutional violations. See Pulliam

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v. Allen, 466 U.S. 522, 541-42 (1984) (holding that judicial immunity does not bar prospective
injunctive relief against a judicial officer for constitutional violations). Although Congress later
modified Pulliam via the Federal Courts Improvement Act of 1996 (FCIA), that statute still
permits declaratory relief and allows injunctive relief against judges when a declaratory
judgment has been violated or inadequate. See 42 U.S.C. § 1983, as amended. Movant seeks
prospective and corrective relief to redress constitutional injuries, not retrospective monetary
damages. Therefore, this Court retains full jurisdiction to hear the matter and grant appropriate
remedies within its equitable and supervisory authority.

Il. LEGAL FRAMEWORK

Article III, Section 1 provides: "The Judges, both of the supreme and inferior Courts, shall
hold their Offices during good Behaviour." Unlike "life tenure," which does not appear in the
Constitution, "good Behaviour" is a specific condition for judicial tenure. The Federalist No. 78
(Hamilton) makes clear that tenure depends upon continuing fidelity to the law, not permanence.
As further elaborated in The Federalist No. 79, the good behavior standard was specifically
designed as a safeguard to protect judicial independence while providing a check against
misconduct or incapacity. When a judge knowingly violates the constitutional rights of litigants,
particularly the rights to petition the court and to receive due process, he fails under the
constitutional meaning of “good Behaviour” and may no longer lawfully exercise the powers of
the office.

As the Supreme Court stated in United States v. Will, 449 U.S. 200, 217 (1980):

"Good behavior tenure means a life term unless the judge is impeached or otherwise removed for
misconduct." This modern doctrine—shaped by self-serving and unconstitutional precedents

created by the judiciary itself—obscures a critical constitutional truth: when misconduct so

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fundamentally compromises judicial legitimacy, removal by another branch is not required.
Rather, judicial power ceases to exist the moment constitutional boundaries are breached.
Forfeiture is not theoretical. It is automatic, intrinsic, and self-executing under Article III.
In Caperton v. .A.T. Massey Coal Co., 556 U.S. 868 (2009), the Supreme Court affirmed that even
the appearance of bias can compromise the guarantee of due process. Here, evidence of bias,
concealment, and deliberate suppression exceeds that threshold by orders of magnitude.
IV. FACTUAL BASIS FOR FORFEITURE
Goodman presents detailed and documented evidence of Judge Boasberg’s conduct that rises
to the level of bad behavior under Article IIJ, organized under three principal categories:
1. Suppression of Constitutionally Protected Filings
a. Suppression or undue delay of filings asserting constitutional claims, as
confirmed by the Court’s later grant of a Rule 59(e) motion following its initial
denial of an amicus application—resulting in constructive denial of the First
Amendment right to petition the court’.
b. Selective docket management that evidences bias or obstruction, impairing due
process under the Fifth Amendment (Mathews v. Eldridge, 424 U.S. 319 (1976)).
2. Direct Evidence of Procedural Obstruction
a. A documented pattern of shielding fabricated or unauthenticated evidence in this
very matter (American Oversight v. Hegseth et al), while refusing to docket
validly submitted evidence or motions from Goodman, a non-party whose rights

are nonetheless affected.

2 Bill Johnson’s Restaurants, Inc. v. NLRB, 461 U.S. 731 (1983) (recognizing that the right to petition includes
access to courts, even in nontraditional contexts such as labor disputes).

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On April 4, 2025, Goodman called the D.C. District Court Clerk’s Office to inquire about the
status of his motion. During this call, a clerk stated without prompting that the filing was sent to
chambers and Judge Boasberg had explicitly instructed them not to docket the motion, despite it
having already been hand-delivered and time-stamped as 'RECEI VED.’ (EXHIBIT A)

The suppression of a physically received and validated motion, followed by its unilateral
voiding without public docket entry, bypassed standard procedures under the Federal Rules of
Civil Procedure in favor of a secretive, extrajudicial 'black box' process instituted by judicial fiat.
This approach mirrors the improperly held notion of ‘lifetime tenure’-—a concept that appears
nowhere in the Constitution and directly contradicts its express condition of ‘good Behaviour.’*”
This unlawful, concealed mechanism for intercepting and discarding constitutionally grounded
filings, especially in such a politically charged action as American Oversight v. Hegseth et al is
incompatible with Article III's good behavior requirement.

3. Improper Political Influence and Retaliatory Coordination

a. Judge Boasberg granted Goodman’s Rule 59(e) motion on April 9, 2025, but
suppressed entry of the associated motion for leave and proposed brief past a
crucial April 10 status conference. This action bears the stench of a deception
meant to maintain the public appearance of due process while secretly obstructing
it for an ulterior purpose.

The tight timeline of subsequent events points to likely retaliatory coordination between

powerful actors in the legislative and judicial branches, specifically Chief Judge Boasberg and

Senator Adam Schiff. On April 14, 2025, Goodman was required to call the Clerk’s Office again

3 See The Federalist No. 79 (Alexander Hamilton), emphasizing that judicial tenure is explicitly conditioned upon
continuing good behavior, not guaranteed for life as a matter of right.

MEMORANDUM IN SUPPORT OF MOTION TO DECLARE FORFEITURE OF
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to compel them to follow the law and Judge Boasberg’ order to docket Goodman’s previously
suppressed amicus brief. *

Five days later, on April 19, Goodman published a widely viewed investigative report
detailing mortgage and election fraud allegedly committed by Senator Adam Schiff. Two days
after that, on April 21, Schiff issued a press release on his official website calling on the National
Archives to launch a federal investigation—an action overlapping directly with the subject
matter of this case and positioned coincidentally to cure one of the fatal defects identified in
Goodman’s Amicus Brief. See [https://www.schiff.senate.gov/news/press-releases/news-after-
latest-hegseth-scandal-sen-schiff-urges-national-archives-to-open-investigation-into-use-of-non-
governmental-apps-and-inclusion-of-private-citizens-on-sensitive-national-security-co/.]

This three-part sequence, Goodman’s need to enforce court compliance, followed by his
public exposure of the powerful senator, and then the near instant federal response, presents a
compelling inference of coordinated retaliation. The alignment of powerful figures in both the
legislative and judicial branches—against Goodman’s First Amendment rights—-demands
recognition as a disqualifying breach of constitutional judicial standards.

V. ARGUMENT

1. Constitutional Tenure Is Conditioned on Good Behaviour

The phrase “during good Behaviour” is not ornamental, it limits judicial power by text
and principle. Judicial authority flows exclusively from compliance with this condition. When
that compliance ceases, so too does the authority. As the Supreme Court recognized in Ex parte

Siebold, 100 U.S. 371, 398 (1880), an officer’s authority derives from the Constitution, and acts

4 Docket Text: MINUTE ORDER: The Court ORDERS that: 1) Proposed Amicus's [13] Motion to Alter Judgment is
GRANTED; and 2) His [11] Motion Seeking Leave to File shall be DOCKETED. So ORDERED by Chief Judge James E.
Boasherg on April 9, 2025. (Icjeb3)

MEMORANDUM IN SUPPORT OF MOTION TO DECLARE FORFEITURE OF
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exceeding that authority are null and void. Likewise, a judge who violates the constitutional
condition of “good Behaviour” forfeits the lawful power to act, as Article II] demands fidelity to
its text. The Federalist No. 78 (Hamilton) affirms that tenure depends upon continuing fidelity to
the law—not permanence.°

2. Violating the Judicial Oath Amplifies Forfeiture

The judicial oath under 28 U.S.C. § 453 binds judges to uphold the Constitution.
Systemic violations—especially those suppressing access to petition or due process—are not
merely breaches of duty but confirm the constitutional basis for forfeiture. As reaffirmed in In re
Murchison, 349 U.S. 133, 136 (1955), ‘a fair trial in a fair tribunal is a basic requirement of due
process.’ When judicial actions undermine this foundation, the authority underpinning them must
be deemed constitutionally void.

3. No Impeachment Is Necessary to Recognize Forfeiture

This motion does not request that the Court remove Judge Boasberg—it asserts that he
has removed himself by ceasing to meet the condition under which judicial power is
constitutionally granted. Just as a contract may be voided for breach, constitutional tenure ceases
upon violation of its preconditions. While United States v. Will, 449 U.S. 200 (1980),
acknowledges impeachment as one avenue of removal, Marbury v. Madison, 5 U.S. 137 (1803),
compels courts to enforce constitutional boundaries. Where the condition of “good Behaviour” is
violated, forfeiture is not a political remedy, but a jurisdictional necessity. This is not
impeachment; it is constitutional self-execution. As the Supreme Court made clear in Nixon v.

United States, 506 U.S. 224 (1993), the judiciary cannot sit in judgment of how another branch

5 See also Chandler v. Judicial Council of Tenth Circuit, 398 U.S. 74, 140 (1970) (Douglas, J., dissenting) (“When a
judge violates [the good Behaviour] standard, he forfeits his right to hold office under Article III.”).

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enforces impeachment—nor can it abdicate its own constitutional responsibilities in the hope that
another branch will act.

The judiciary must recognize when its own constitutional authority has been forfeited. As
Chief Justice Marshall famously wrote, ‘It is emphatically the province and duty of the judicial
department to say what the law is.’®’ When the law is the Constitution itself, courts may not
decline to apply it—even against themselves. The violation of Article III’s “good Behaviour”
clause constitutes a jurisdictional defect. A judge who no longer satisfies the constitutional
condition of office lacks lawful authority ab initio, and any orders issued thereafter are void.

4. The Superman Analogy and Legal Doctrine: Kryptonite to Judicial Power

Just as kryptonite nullifies Superman’s abilities, Judge Boasberg cannot resist the effects
of bad behavior on his judicial authority. The metaphor is apt: once constitutional misconduct
occurs, power is removed not through any external process, but by intrinsic incompatibility. This
is reinforced by the legal principle of void ab initio, which holds that actions taken without
proper authority are null from the outset. See Freytag v. Commissioner, 501 U.S. 868, 879
(1991). This applies with equal, if not greater, force to judges who operate in violation of their
constitutional conditions of tenure. A judge who violates the very conditions under which judicial
authority is granted is not merely compromised—he is constitutionally incapacitated and no
longer cloaked in Article [I] power but is a private citizen acting without legal authority.

Forfeiture of judicial authority under Article III is not limited to the specific matter in
which the misconduct arises. Once the constitutional condition of “good Behaviour” is breached,
the individual forfeits all judicial authority. He ceases to be a lawful judge—not just in this case,

but in every case—until such authority is lawfully restored through reappointment or some other

© Marbury v. Madison, 5 U.S. (1 Cranch) 137, 177 (1803).

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constitutional process. Every order or action taken thereafter is a legal nullity. He must leave the
case, leave the bench, and leave the courthouse without delay.
VI. RELIEF DEMANDED
Accordingly, Goodman respectfully insists that—by the authority of the United States
Constitution, not his own—this Court shall:
1. Declare that Judge James E. Boasberg, by engaging in bad behavior as defined
under Article III, Section 1, has forfeited his judicial authority absolutely;
2. Order that Judge Boasberg is no longer qualified to preside over American
Oversight v. Hegseth et al or any matter in any United States District Court;
3. Stay proceedings in this matter until a constitutionally qualified judge is assigned.
Vil. CONCLUSION
WHEREFORE, the United States Constitution, not tradition or judicial custom, governs the
authority of federal judges. When a judge violates the most sacred rights of the people—speech,
petition, due process—he ceases to act under the color of lawful authority and becomes a
trespasser of law, rendering all future orders and rulings legal nullities. This Court must either
declare the judicial authority of James E. Boasberg to be forfeited or otherwise admit that the
Constitution is wholly ignored as law and completely unenforceable within its own halls.”
Dated: New York, New York May 5, 2025

SO. submitted
i

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7 United States v. Nixon, 418 U.S. 683, 703 (1974) (“no person, not even the President of the United States, is
completely above the law.")

MEMORANDUM IN SUPPORT OF MOTION TO DECLARE FORFEITURE OF
JUDICIAL AUTHORITY UNDER ARTICLE III, SECTION 1

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(EXHIBIT A)
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IN THE UNITED STATES DISTRICT COURT James E-Boasber 8 Case No. 1:25-cv-00883

FOR THE DISTRICT OF COLUMBIA Cihief Judge
x MOTION SEEKING
AMERICAN OVERSIGHT, LEAVE TO FILE
BRIEF OF AMICUS
Plaintiff, CURIAE IN
~against- OPPOSITION TO
PLAINTIFF’S CLAIM
PETE HEGSETH, et al., OF STANDING
Defendants.
xX

Pursuant to Local Civil Rule 7(0) and the inherent authority of this Court, Jason
Goodman respectfully moves for leave to file the accompanying amicus curiae brief in the
above-captioned matter,

L IDENTITY AND INTEREST OF AMICUS

The Proposed Amicus is a U.S. citizen, 3 journalist, and a documentary filmmaker with
extensive experience investigating politically motivated misuse of nonprofit law: Amicus has
closely examined the activities of Norm Eisen, founder of Citizens for Responsibility and Ethics
in Washington (CREW), and the affiliated network of 501(c)(3) entities working in coordination
with American Oversight, the Plaintiff in this legal action. This rogue network has consistently
misused nonprofit litigation to pursue partisan political objectives under the guise of ethics
enforcement and in violation of Internal Revenue Service Code and other state and federal laws.

IL. GROUNDS FOR LEAVE

The proposed brief offers a perspective not otherwise presented to the Coutt: that Plaintiff's
conduct violates core requirements of § 501(c)(3) and § 170(b)(1)(A)(v), and that this violation
undermines both Plaintiff’s standing and its legal capacity to sue under Rule 17.

highlighting the use of tax-exempt status to fund partisan lawfare operations. It references

The brief outlines a consistent pattern of abuse across Eisen-affiliated nonprofits, oO
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MOTION SEEKING LEAVE TO FILE BRIEF OF AMICUS CURIAE IN OPPOSITION TO
PLAINTIFF’S CLAIM OF STANDING
Case 1:25-cv-00883-JEB Document 26 Filed 05/19/25 Page 20of 21

IN THE UNITED STATES DISTRICT COURT Case No. 1:25-cv-00883
FOR THE DISTRICT OF COLUMBIA
x [PROPOSED] ORDER
AMERICAN OVERSIGHT,
Plaintiff,
-against-
PETE HEGSETH, et al.,
Defendants.
Xx

Upon consideration of the motion submitted by Jason Goodman, Constitutionally
Empowered Pro Se Litigant and proposed Amicus Curiae, seeking a declaration that Chief Judge
James E. Boasberg has forfeited his judicial authority under Article III, Section | of the United
States Constitution, it is hereby:

ORDERED that the motion is GRANTED;

FURTHER ORDERED that Chief Judge James E. Boasberg is disqualified from further
presiding over this case or any other matter in any United States District Court;

FURTHER ORDERED that all orders and actions taken by Judge Boasberg in this matter
after the date of constitutional forfeiture are declared void ab initio;

FURTHER ORDERED that this matter shall be reassigned to a constitutionally qualified
judicial officer without delay;

FURTHER ORDERED that all proceedings in this case are hereby STAYED pending
reassignment and further order of the Court..

Dated:

JAMES E. BOASBERG

UNITED STATES DISTRICT JUDGE

[PROPOSED] ORDER
Case 1:25-cv-00883-JEB Document 26 Filed 05/19/25 Page 21of 21

IN THE UNITED STATES DISTRICT COURT Case No. 1:25-cv-00883 ges
FOR THE DISTRICT OF COLUMBIA
x CERTIFICATE OF
AMERICAN OVERSIGHT, SERVICE
Plaintiff,
-against-
PETE HEGSETH, et al.,
Defendants.
X

I hereby certify that on May 5, 2025, I served true and correct copies of the following
documents by electronic mail (with PDFs attached):
- Motion to Declare Forfeiture of Judicial Authority Under Article III, Section |
- Memorandum of Law in Support
- Declaration of Jason Goodman
- Proposed Order _
PAY = @ 095
- Exhibit A

upon the following parties: VL

amber.richer@usdoj.gov, emma.lewis@americanoversight.org,

ben.sparks(@americanoversight.org, ron.fein@americanoversight.org,
katherine.anthony@americanoversight.org

Dated: New York, New York May 5, 2025

Z Respectfully submitted
7 4 —~Jason Goodman
7 Pro Se Amicus Applicant
truth@crowdsourcethetruth.org
252 7th Avenue Apt 6s
New York, NY 10001

347-380-6998

CERTIFICATE OF SERVICE
